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 1                                                                 The Honorable Ricardo S. Martinez
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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8
     RUSSELL H. DAWSON,
 9
                                                          NO. 2:19-cv-01987-RSM
10                             Plaintiff,
                                                          [PROPOSED]
11          vs.
                                                          STIPULATION FOR AND ORDER
12   NAPHCARE, INC., et al;                               OF DISMISSAL
13                             Defendants.                [CLERK’S ACTION REQUIRED]
14
                                             STIPULATION
15

16          The undersigned Plaintiff’s attorney certifies that the requirements relating to the minors’

17   funds, set forth in the Order Granting Joint Petition to Approve NaphCare Settlement, Dkt. 249,

18   have been completed.
19
            IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff and
20
     NAPHCARE, INC., REBECCA VILLACORTA, HENRY TAMBE, NANCY WHITNEY,
21
     BILLIE STOCKTON, BRITTANY MARTIN, BROOKE WALLACE, SALLY MUKWANA,
22
     JOAN KOSANKE and RITA WHITMAN, that all claims against Defendants may be dismissed
23

24   with prejudice and without assessment by the Court of costs or attorneys’ fees to either party.

25

26

27   [PROPOSED] STIPULATION FOR AND ORDER OF                             KRUTCH LINDELL BINGHAM JONES, P.S.
                                                                                    3316 Fuhrman Ave E
     DISMISSAL - 1                                                                         Suite 250
                                                                                  Seattle, Washington 98102
     2:19-cv-01987-RSM                                                      TEL. 206.682.1505 • FAX 206.467.1823
              Case 2:19-cv-01987-RSM Document 256 Filed 04/07/22 Page 2 of 3




 1           Respectfully submitted this 7th day of April, 2022.
 2
       KRUTCH LINDELL BINGHAM JONES,                     WILLIAMS KASTNER
 3     P.S.
 4
       By: /s/ J. Nathan Bingham                         By: /s/ Heidi Mandt
 5     J. Nathan Bingham, WSBA #46325                    Heidi Mandt, WSBA #26880
       3316 Fuhrman Ave E, Suite 250                     1515 SW Fifth Avenue, Suite 600
 6     Seattle, Washington 98102                         Portland, OR 97201-5449
       Telephone: (206) 682-1505                         Telephone: (503) 228-7967
 7
       Facsimile: (206) 467-1823                         Facsimile: (503) 222-7261
 8     Email: jnb@krutchlindell.com                      Email: hmandt@williamskastner.com

 9     Attorneys for Plaintiff                           Attorneys for Defendants

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11
                                                  ORDER
12
             PURSUANT TO THE FOREGOING STIPULATION, IT IS ORDERED that Plaintiff’s
13
     claims against NAPHCARE, INC., REBECCA VILLACORTA, HENRY TAMBE, NANCY
14
     WHITNEY, BILLIE STOCKTON, BRITTANY MARTIN, BROOKE WALLACE, SALLY
15

16   MUKWANA, JOAN KOSANKE and RITA WHITMAN, as described in the above Stipulation,

17   are dismissed with prejudice and without assessment by the Court of costs or attorneys’ fees to
18   either party.
19
             DATED this _______ day of _____________________, 2022.
20

21
                                                   _______________________________________
22                                                 RICARDO S. MARTINEZ
23                                                 CHIEF UNITED STATES DISTRICT JUDGE

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27   [PROPOSED] STIPULATION FOR AND ORDER OF                            KRUTCH LINDELL BINGHAM JONES, P.S.
                                                                                   3316 Fuhrman Ave E
     DISMISSAL - 2                                                                        Suite 250
                                                                                 Seattle, Washington 98102
     2:19-cv-01987-RSM                                                     TEL. 206.682.1505 • FAX 206.467.1823
            Case 2:19-cv-01987-RSM Document 256 Filed 04/07/22 Page 3 of 3




     Presented by:
 1

 2    KRUTCH LINDELL BINGHAM JONES, P.S.

 3    s/ J. Nathan Bingham, WSBA #46325
      J. Nathan Bingham, WSBA #46325
 4    Jeffrey C. Jones, WSBA #7670
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      TERRELL MARSHALL LAW GROUP PLLC
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      Attorneys for Plaintiffs
18

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27   [PROPOSED] STIPULATION FOR AND ORDER OF             KRUTCH LINDELL BINGHAM JONES, P.S.
                                                                    3316 Fuhrman Ave E
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